Case 1:21-cr-00175-TJK Document 653-2 Filed 01/27/23 Page 1of 3

, ve to filo GRANTED
LAM ae [2s

OTHY J. KELLY DATE
United States District Judge

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA ) Case No. 1:21-CR-175-TJK

V.

)
)
ETHAN NORDEAN, et al. )
)

Defendants
WITNESS HENDRICK BLOCK’S MOTION TO QUASH SUBPOENA

COMES NOW Mr. Block, by Gregory B. English, his court-appointed attorney,
and hereby asks this court to quash the subpoena which has been issued to him to
appear as a defense witness in the subject trial. The basis for this motion is that
Mr. Block will assert his Fifth Amendment rights if called as a witness in this
proceeding unless he is granted testimonial immunity, so it would be pointless for
him to travel across the country to appear at this proceeding. Mr. Block’s physical
limitations have been described in the defense motion for a Rule 15 video

deposition and related pleadings. (Document 599 at et seq.).

Assuming, arguendo, the court will deny this request, we ask to be heard on

the question of what means of transportation Mr. Block will be authorized to use
Case 1:21-cr-00175-TJK Document 653-2 Filed 01/27/23 Page 2 of 3

to come to this court. As previously stated, the court is aware of his physical

limitations and the extreme difficulty of him being required to travel by air.

We ask this court to conduct a motion hearing by Zoom to address this
matter. We further request that when Mr. Block describes his physical infirmities
that portion of the proceeding be conducted under seal in order to preserve his

privacy.

A draft order implementing this request is appended for the court to

consider.

Respectfully submitted,

/signed by/
Gregory B. English, DC Bar #398564
The English Law Firm, PLLC
601 King Street, Suite 406
Alexandria, Virginia 22314
(703) 739-1368/Fax (703) 836-6842

gbheuva@gmail.com
Counsel for the Defendant
Case 1:21-cr-00175-TJK Document 653-2 Filed 01/27/23 Page 3 of 3

Certificate of Service

| hereby certify that on the 18th day of January, 2023, | filed the foregoing
motion with the Clerk of the Court using the CM/ECF system, which will send a
notification of such filing (NEF) to the following CM/ECF user(s):

AUSA Erik Kenerson
Via ECF to Erik.Kenerson@usdoj.gov

/signed by/
Gregory B. English, DC Bar #398564
The English Law Firm, PLLC
601 King Street, Suite 406
Alexandria, Virginia 22314
(703) 739-1368/Fax (703) 836-6842

gbeuva@gmail.com
Counsel for the Defendant
